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                         IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS
                                  PINE BLUFF DIVISION


SIEMENS INDUSTRY, INC.                                                            PLAINTIFF/
                                                                         COUNTER-DEFENDANT

vs.                             NO. 5:15-cv-00127 DPM/JTK

CITY OF MONTICELLO, ARKANSAS                                                    DEFENDANT/
                                                                          COUNTER-CLAIMANT

vs.

SIEMENS A.G.                                                       THIRD-PARTY DEFENDANT


      CITY OF MONTICELLO’S STATEMENT OF UNDISPUTED MATERIAL FACTS
                              IN SUPPORT OF
                 MOTION FOR PARTIAL SUMMARY JUDGMENT

        Pursuant to Local Rules 7.2 and 56.1, and the provisions of the Court’s Amended Final

Scheduling Order, the City of Monticello (herein “City”) submits the following statement of material

facts as to which it contends there is no genuine dispute to be tried.

        1.       The City is a municipal political subdivision of the State of Arkansas. See R. Doc.

7 at page 1; see also R. Doc. 12 at page 2.

        2.       The City and Siemens Industry, Inc. (herein “Siemens”) executed a contract entitled

Performance Contracting Agreement dated September 19, 2013 (herein “contract”). See Exhibits

1 and 2.1

        3.       Under the contract terms, Siemens agreed to construct/install water meter and line



        1
       All references to Exhibits are to the Exhibits to the City’s present Motion For Partial
Summary Judgment.

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improvements in the City in exchange for a total price of $10,112,651.22. See Exhibit 1, at page 31.

       4.       The City issued $10 Million in revenue bonds pursuant to Title 14, Chapter 164,

Subchapter 4 of the Arkansas Code of 1987 Annotated, and other authorities, to finance the cost of

constructing/installing the water meters and lines covered by the contract. See Exhibit 9, at page

5-6.

       5.       The term of the revenue bonds referenced in Paragraph 4 above was for 30 years.

See Exhibit 9 at page 7.

       6.       The work and material to be provided by Siemens under the contract was not

competitively bid. See Exhibit 4.

       7.       The contract does not contain the terms prescribed by Ark. Code Ann. § 14-

164-402(15)(D). See Exhibits 1 and 2.

       8.       Siemens has not guaranteed to the City the aggregate amount of efficiency

savings to be derived by the City from the water meter/line construction project covered by

the contract by providing in favor of the City a letter of credit issued by a federally insured

banking institution, an amount of cash equal to the aggregate projected efficiency savings to

be placed in escrow with an independent escrow agent, or a multiyear surety bond insuring

the aggregate amount of efficiency savings guaranteed by Siemens in the contract that will

remain in force throughout the term of the revenue bonds issued by the City to finance the

costs and expenses associated with constructing/installing the water meters and lines covered

by the contract. See Exhibits 1, 2, 5 at pages 2-3, 6 at pages 1-2, 7 at page 2, and 8.

       9.       Siemens does not have an investment-grade credit rating as established in


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writing addressed to the City by an independent third-party credit rating agency. See Exhibit

18.

       10.     The contract does not contain the terms prescribed by Ark. Code Ann. § 14-

164-402(15)(E). See Exhibits 1 and 2.

       11.     The contract terms do not require Siemens to measure and value all of the

efficiency savings promised by Siemens to the City in the contract through utilization of the

International Performance Measurement and Verification Protocol (herein “IPMVP”)

throughout the 30 year term of the revenue bonds issued by the City to finance the costs and

expenses associated with the construction/installation of the water meter and lines covered

by the contract. See Exhibit 1 at pages 5, 6, 34, 36, 37, 45, 46, and 47.

       12.     The contract terms provide for determining the amount of efficiency savings

by methodologies other than use of the IPMVP. See Exhibit 1 at pages 6 and 34 ¶ 1.5.

       13.     The contract terms provide for determining the amount of efficiency savings

known as Operational Savings by agreement. See Exhibit 1 at pages 6, 36, 37, 45, 46 and

47.

       14.     The contract defines Operational Savings as Stipulated Savings. See Exhibit

1 at page 5.

       15.     The contract states that Stipulated Savings are agreed upon in advance by the

Parties and cannot be changed. See Exhibit 1 at page 6.

       16.     The contract terms respecting Operational Savings provide for same to be

measured or monitored only during the first year of the performance guarantee period. See

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Exhibit 1, at pages 36, 37, 46 and 47.

       17.    The term of the revenue bonds issued by the City to finance the

construction/installation of the water meter/line improvements extend beyond the first year

of the performance guarantee period. See Exhibit 9, at pages 5, 6 and 7, and Exhibit 1, at

pages 33, et seq.



                                                  Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       I hereby certify that on December 31, 2015, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF System which will send notification of such filing to
all counsel of record in this case.


                                                        /s/ C. C. Gibson, III
                                                        C. C. Gibson, III

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